254 F.2d 432
    58-1 USTC  P 9477
    COMMERCIAL STANDARD INSURANCE COMPANY, Appellant,v.Ellis CAMPBELL, Jr., District Director of Internal Revenue;S. W. Taylor, Collection Officer, Internal Revenue Service;First National Bank, Arlington, Texas; and United States ofAmerica, Appellees.UNITED STATES of America, Appellant,v.FIRST NATIONAL BANK, ARLINGTON, TEXAS, Appellee.
    No. 16723.
    United States Court of Appeals Fifth Circuit.
    April 28, 1958.
    
      Ralph W. Malone, and Malone, Lipscomb &amp; Seay, Dallas Tex., for appellant.
      Charles K. Rice, Asst. Atty. Gen., Ellis N. Slack, George F. Lynch, Lee A. Jackson, A. F. Prescott, Attorneys, Department of Justice, Washington, D.C., Heard L. Floore, U.S. Atty., A. W. Christian, Asst. U.S. Atty., Carlisle Cravens, Fort Worth, Tex., for appellees.
      Before RIVES, BROWN and WISDOM, Circuit Judges.  PER CURIAM.
    
    
      1
      Disposition of this appeal has been held in abeyance awaiting the decision of the Supreme Court in United States v. R. F. Ball Construction Co., 355 U.S. 587, 78 S.Ct. 442, 2 L.Ed.2d 510.  The judgment of the District Court, whose opinion in the present case is reported in 146 F.Supp. 919, is in accord with that decision, except as to the award by the District Court out of the funds of attorneys' fees to be paid to the First National Bank of Arlington, Texas.  The judgment is therefore affirmed except as to the part awarding such attorneys' fees, which part is reversed, and the cause remanded with directions that such attorneys' fees to the extent that they are payable out of any part of the fund impressed with the Federal tax lien be disallowed.  The costs of appeal are taxed against the appellant, Commercial Standard Insurance Company.
    
    
      2
      Affirmed in part and in part reversed and remanded with directions.
    
    